         Case 1:20-cr-00188-JSR Document 127 Filed 12/23/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------- x
UNITED STATES OF AMERICA,           :
                                    :
        v.                          :                20-cr-188-2 (JSR)
                                    :
HAMID AKHAVAN,                      :
                                    :
               Defendant.           :                       ORDER
----------------------------------- x

JED S. RAKOFF, U.S.D.J.

     As to defendant Hamid Akhavan, the Clerk of Court is hereby

directed to receive the moneys paid in the Central District of

California into the Court’s registry until further Order of the

Court.

     SO ORDERED.

Dated:       New York, NY                       _______________________
             December 23, 2020                  JED S. RAKOFF, U.S.D.J.




                                      -1-
